      Case 1-19-43583-ess         Doc 24     Filed 09/04/19      Entered 09/04/19 13:05:24


                                     TROY LAW, PLLC
                           ATTORNEYS / COUNSELORS AT LAW
               Tel: (718) 762-1324 troylaw@troypllc.com Fax: (718) 762-1342
                    41-25 Kissena Boulevard, Suite 119, Flushing, NY 11355

                                                   September 4, 2019
Via ECF
Hon. Elizabeth S. Stong
U.S. Bakruptcy Court, EDNY
Conrad B. Duberstein Courthouse
271-C Cadman Plaza East- Suite 1595
Brooklyn, NY 11201

  Re:   Letter Motion Requesting to Extend Time to File Proof of Claims and Object to
                                     Dischargeability
                            1-19-bk-43583-ESS In re Jing Yang
Dear Honorable Judge Stong:

        This office represents the creditors Ming En Wang and Troy Law, PLLC. We write
respectfully to request extension of time to (1) object to debtors dischargeability; and (2) file Proof
of Claims for both the creditors. This is Creditors first request for extension of time and granting
such request will not prejudice any party.

        On June 10, 2019, Debtor Jing Yang filed Chapter 13 for Bankruptcy and the undersigned
office did not receive any mail notification of the bankruptcy filing from the Court nor the Debtors
attorney. It was not until September 03, 2019, did Counsel for the Creditors realize Debtor Jing
Yang filed for bankruptcy on June 10, 2019. Upon further review of the docket, Creditors realized
the reason for not receiving the notifications from the Court regarding the above matter is due to
excluding Suite number of Troy Law, PLLC. See Exhibit 1, Creditors list. Thereafter, the Counsel
filed his notice of appearance and informed the chambers regarding the same. For all the foregoing
reasons, the undersigned respectfully requests this Court to grant two weeks extension of time to
object to dischargeability of Debtors and extend one week of time to file proof of claims for both
creditors Ming En Wang and Troy Law, PLLC.

      For all the foregoing reasons, the undersigned respectfully requests Your Honor to grant
two weeks of time to object to dischargeability and one week of time to file Proof of claims for
both Ming En Wang and Troy Law, PLLC.

       We thank the Court for its time and consideration in this matter and apologize for any
inconveniences caused to this court.

                                                       Respectfully submitted,

                                                            /s/ John Troy
                                                                John Troy

                                                       Attorney for Creditors

cc: via ECF
    all counsel of record
